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F§Z.ED BY___ D.C.

 

UNITED sTATEs merch coURT _
WESTERN DISTRICT oF TENNESSEE 05 HA¥ 20 PH 11= 30
Eastern Division

FlUE‘EFiT R Dl TROL\O

CLLHK U.S DIST Cl'.
UNITED STATES OF AMERICA WD DOF m JACKSON
-vs- Case No. 1:05cr10041-001T
ALEX LOUIS

 

ORDER OF DETENT|ON PEND|NG TRlAL
FlNDlNGS
In accordance With the Bail Reforrn Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECTIONS REGARD|NG DETENTION

ALEX LOUIS is committed to the custody of the Attorney General or his designated representative for
confinement' in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. ALEX LOUIS shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding.

Date: May 20, 2005 3 5

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Th|s document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) FRGrP on

ISTRIC COURT - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CR-10041 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

.l ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

